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                                       IN THE UNITED STATES DISTRICT COURT
                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT J. POZZUOLO, and All                                             :   CIVIL ACTION
Others Similarly Situated                                               :
                                                                        :
              v.                                                        :
                                                                        :
PORTFOLIO RECOVERY                                                      :
ASSOCIATES, LLC                                                         :   NO. 18-1797

                                                               MEMORANDUM OPINION

Savage, J.                                                                                 April 9, 2019

              In this putative class action brought under the Fair Debt Collection Practices Act

(FDCPA),1 we must determine whether the plaintiff suffered an injury-in-fact necessary to

confer standing. The issue is whether one who has not suffered actual harm or was not

at risk of harm as a result of a procedural violation of 15 U.S.C. § 1692g has standing to

assert a claim for that violation. We hold that he does not.

              Plaintiff Robert J. Pozzuolo alleges that the defendant debt collector, Portfolio

Recovery Associates, LLC (PRA), sent him an initial collection letter that violated the

validation notice requirement of § 1692g. The letter advised him that he could dispute

the debt by telephoning PRA even though only a written dispute suffices to trigger the

debt collector’s obligations under § 1692g(b) to cease collection and provide verification

of the debt to the consumer.

              In moving to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1),

PRA argues that Pozzuolo does not have standing because he has not suffered and was

not at risk of suffering a concrete injury. It cites Pozzuolo’s deposition testimony that he

merely skimmed the letter and had no intention to dispute the debt. PRA also contends

                                                            
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                  15 U.S.C. §§ 1692-92p (2006).

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that there was no risk of harm because it treats telephonic and written disputes the same.

PRA maintains that the validation notice informing Pozzuolo that he could dispute the

debt telephonically was a mere procedural violation of § 1692g(a).

              We conclude that Pozzuolo lacks standing. Because he never intended to dispute

the debt, PRA’s violation of § 1692g by failing to inform him that only written disputes are

legally effective neither harmed him nor created a material risk of harm. Therefore, we

shall grant PRA’s motion to dismiss.

                                                               Facts

              On March 30, 2018, PRA sent Pozzuolo a collection letter regarding a debt

originally owed to Capital One Bank (USA), N.A.2 A box in the center of the page included

the following validation notice:

                             Unless you notify this office within 30 days after receiving this
                             notice that you dispute the validity of this debt or any portion
                             thereof, this office will assume this debt is valid. If you notify
                             this office in writing within 30 days from receiving this notice
                             that you dispute the validity of this debt or any portion thereof,
                             this office will obtain verification of the debt or obtain a copy
                             of a judgment and mail you a copy of such judgment or
                             verification. If you request this office in writing within 30 days
                             after receiving this notice, this office will provide you with the
                             name and address of the original creditor if different from the
                             current creditor.3

              Although this part of the letter clearly stated that a dispute had to be in writing,

another part advised that a telephone call was sufficient. The bottom of the page directed

Pozzuolo to the back of the letter: “NOTICE: SEE REVERSE SIDE FOR IMPORTANT




                                                            
              2
                  Compl. ¶ 14, Ex. A (Doc. No. 1). A copy of this letter is attached hereto as Exhibit A.
              3
                  Id., Ex. A at 1.


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INFORMATION[.]”4 On the back, there were several notices, including one that read:

“DISPUTES: Call 1-800-772-1413 or write to: Portfolio Recovery Associates, LLC,

Disputes Department, 140 Corporate Blvd., Norfolk, VA 23502[.]”5 Thus, read in its

entirety, the letter gave Pozzuolo two options for disputing the debt – orally or in writing.

              PRA’s corporate designee, Susan Guevara, testified that if a consumer submits a

written dispute, PRA immediately begins the debt verification process.6 See 15 U.S.C. §

1692g(b). If a consumer calls with questions about a debt, the associate reviews the

account statements with the consumer.7 If the consumer indicates at any point that he

disputes the debt, the conversation ends and PRA begins the verification process.8 If the

consumer does not dispute the debt while the associate is reviewing the statements with

him, the associate asks at the conclusion of the review if he disputes the debt.9 If the

consumer responds affirmatively, the conversation ends and the verification process

proceeds.10

              Guevara’s testimony is not consistent with PRA’s Account Representative Training

Manual (Manual). According to the Manual, the conversation with the consumer does not

immediately end if the consumer disputes the debt.11 The representative does not accept

                                                            
              4
                  Id.
              5
                  Id. Ex. A at 2 (emphasis in original).
              6
                  Opp’n to Mot. to Dismiss (Doc. No. 17) Ex. 1, 131:21-132:2.
              7
                  Id. Ex. 1, 130:24-131:13.
              8
                  Id. Ex. 1, 132:7-9, 14-22.
              9
                  Id. Ex. 1, 131:6-15.
              10
                   Id. Ex. 1, 131:15-17.   
              11
                   Id. Ex. 3 at 41.


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the consumer’s dispute. Instead, she challenges the consumer. She responds, “Let me

review your account documents,” then reviews the details of the consumer’s account

documents.12 The representative next asks, “Now that we have reviewed the supporting

documentation associated with your account are you still disputing the account?”13 The

customer must respond “Yes or No.”14 Only if the customer responds affirmatively does

the representative submit the dispute.15

              Pozzuolo testified at his deposition that as he does with all collection letters he

receives, he “scan[ned] over” the letter and forwarded it to the law firm representing him

in this matter.16 He did not contact PRA or any of the credit reporting agencies about it.17

Although he did “not enjoying seeing” it, the letter caused him no damages.18                  He

concedes the validity and the amount of the debt.

                                                               Standard of Review

              A motion to dismiss brought pursuant to Rule 12(b)(1) is treated similarly to a Rule

12(b)(6) motion. Gould Elecs. Inc. v. United States, 220 F.3d 169, 176 (3d Cir. 2000).

Whether a Rule 12(b)(1) motion presents a “facial” or a “factual” attack dictates the scope

of review. Lincoln Benefit Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d Cir. 2015). A

facial challenge asserts an insufficiency on the face of the complaint. Id. A factual attack

                                                            
              12
                   Id. Ex. 3 at 44.
              13
                   Id. Ex. 3 at 44.
              14
                    Id. Ex. 3 at 44. 

              15
                    Id. Ex. 3 at 44. 

              16
                   Mot. to Dismiss Ex. A (Doc. No. 14-2), 16:22-17:1, 17:18-20.
              17
                    Id. Ex. A, 47:12-48:14. 
              18
                   Id. Ex. A, 32:3-12.


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is “an argument that there is no subject matter jurisdiction because the facts of the

case . . . do not support the asserted jurisdiction.” Constitution Party of Pa. v. Aichele,

757 F.3d 347, 358 (3d Cir. 2014).

       PRA makes a factual challenge. It argues that the facts revealed in discovery show

Pozzuolo suffered no injury-in-fact, an element essential to establish standing.

       In a factual challenge, the defendant disputes the allegations on which jurisdiction

depends. Unlike in considering a facial challenge, the court must weigh the evidence and

evaluate the merits of the claim. Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d

884, 891 (3d Cir. 1977).         No presumptive truthfulness attaches to the plaintiff’s

allegations. Id. Thus, a district court may consider evidence outside the pleadings. CNA,

535 F.3d at 145; Gould Elecs. Inc., 220 F.3d at 176 (citation omitted).

                                           Analysis

       Standing limits who can maintain a case in federal court. In the absence of

standing, a plaintiff has no “case” or “controversy” empowering the federal court to

exercise jurisdiction. U.S. CONST. art. III, § 2.

       To establish standing, the plaintiff must show that he (1) suffered an injury-in-fact

or “an invasion of a legally protected interest,” (2) that is fairly traceable to the defendant’s

conduct, and (3) is likely to be redressed by a favorable judicial decision. Spokeo, Inc. v.

Robbins, -- U.S. --, 136 S. Ct. 1540, 1548-50 (2016) (citing Lujan v. Defs. of Wildlife, 504

U.S. 555, 560 (1992)); see also Long v. Se. Pa. Transp. Auth., 903 F.3d 312, 322-23 (3d

Cir. 2018).

       An injury-in-fact is “an invasion of a legally protected interest which is (a) concrete

and particularized, and (b) actual or imminent, not conjectural or hypothetical.” Lujan,



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504 U.S. at 560 (quoting Allen v. Wright, 468 U.S. 737, 751 (1984)) (additional quotations

and citations omitted).

       Addressing the “concrete” injury requirement, the Spokeo court explained that a

concrete injury is “de facto,” “real, and not abstract.” Spokeo, 136 S. Ct. at 1548 (citations

omitted). Even the “risk of real harm,” including harm that is difficult to prove or measure,

may satisfy the requirement.       Id. at 1549 (citations omitted).     Concrete does not

necessarily mean “tangible,” as “intangible injuries can nevertheless be concrete.” Id.

(citations omitted).

       A violation of a statute alone may satisfy the injury-in-fact requirement. In re

Horizon Healthcare Servs., Inc. Data Breach Litig., 846 F.3d 623, 635 (3d Cir. 2017). The

Supreme Court has long recognized that Congress has the prerogative to grant

individuals the right to sue to enforce statutory rights. Id. (citations omitted). However,

Congress’ power to make a statutory violation cognizable “does not mean that a plaintiff

automatically satisfies the injury-in-fact requirement whenever a statute grants a person

a statutory right and purports to authorize that person to sue to vindicate that right.” Id.

Even when a statute is violated, standing still requires an injury-in-fact. “A bare procedural

violation, divorced from any concrete harm,” will not suffice. Id. On the other hand,

“where the statutory violation is ‘the very harm that Congress sought to prevent,’ the

violation of a statutorily created procedural right may constitute an injury-in-fact.” Susinno

v. Work Out World Inc., 862 F.3d 346, 351 (3d Cir. 2017) (citing Van Patten v. Vertical

Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir. 2017)). In such cases, the plaintiff need

not allege “any additional harm” beyond what Congress has identified.                Horizon

Healthcare, 846 F.3d at 635 (emphasis in original) (citations omitted).



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       Rather than establishing a bright line rule, the Spokeo Court used examples of

what “circumstances” would give rise to an injury-in-fact and what would not. It cited two

cases where violations of statutorily created procedural rights constituted concrete injury

without the need for any additional harm. See id. at 1549-50 (citing Fed. Election Comm’n

v. Akins, 524 U.S. 11 (1998); Pub. Citizen v. Dep’t of Justice, 491 U.S. 440 (1989)). Both

cases involved the inability to obtain information related to the political process Congress

made subject to public disclosure. See Akins, 524 U.S. at 24-25 (“the informational injury

at issue here, directly related to voting, the most basic of political rights, is sufficiently

concrete and specific”); Pub. Citizen, 491 U.S. at 449 (refusal to permit advocacy groups

to obtain information about American Bar Association’s advice to Department of Justice

subject to disclosure under Federal Advisory Committee Act “constitute[d] a sufficiently

distinct injury to sue”).

       The court provided two examples of procedural violations under the Fair Credit

Reporting Act (FCRA) that would not rise to the level of concrete harm. First, a consumer

would suffer no concrete harm where a credit reporting agency provided accurate

information about a consumer but failed to provide the required notice to the user of the

information. Spokeo, 136 S. Ct. at 1550. Second, the provision of an incorrect zip code,

without more, would not likely constitute a concrete harm, even though in passing the

FCRA “Congress plainly sought to curb the dissemination of false information” about

consumers. Id.

       In Spokeo, the defendant inaccurately reported the plaintiff’s age, wealth, family,

employment and education. Id. at 1546. The Court did not decide whether the disclosure

of this inaccurate information “entail[ed] a degree of risk sufficient to meet the



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concreteness requirement” absent additional harm. Id. at 1550. It remanded the case to

the circuit court to make that determination. Id.

              On remand to determine whether the procedural violation alone established

concrete harm, the Ninth Circuit adopted the two-part test set forth by the Second Circuit

in Strubel v. Comenity Bank. Robins v. Spokeo, Inc., 867 F.3d 1108, 1113 (9th Cir. 2017)

(Spokeo II) (citing Strubel, 842 F.3d 181, 190 (2d Cir. 2016)). In applying that test, the

court asks: “(1) whether the statutory provisions at issue were established to

protect . . . concrete interests (as opposed to purely procedural rights), and if so, (2)

whether the specific procedural violations alleged in this case actually harm, or present a

material risk of harm to, such interests.” Id. See also Strubel, 842 F.3d at 190 (citing

Spokeo, 136 S. Ct. at 1549). It noted that the Fourth and Sixth Circuits had engaged in

similar analyses when considering whether a procedural violation by itself arose to a

concrete injury. Spokeo II, 867 F.3d at 1113 (citing Dreher v. Experian Info. Sols., Inc.,

856 F.3d 337, 346 (4th Cir. 2017); Lyshe v. Levy, 854 F.3d 855, 869 (6th Cir. 2017))

(additional citations omitted).

              The Third Circuit made it clear, in Kamal v. J. Crew Group, Inc., that it applies the

Strubel/Spokeo II test: “We—like several of our sister circuits—understand Spokeo ‘to

instruct that an alleged procedural violation . . . manifest[s] concrete injury’ if the violation

actually harms or presents a material risk of harm to the underlying concrete interest.”19

918 F.3d 102, 112-13 (3d Cir. 2019) (quoting Strubel, 842 F.3d at 190; citing Spokeo II,



                                                            
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           The court explained that it did not apply a “material risk of harm” approach in Horizon Healthcare
because “the alleged injury in Horizon—unauthorized dissemination of private information—could ‘itself
constitute a cognizable injury,’ and was ‘the very injury that FCRA [was] intended to prevent[.]’” Kamal, 918
F.3d at 113 n.3 (quoting Horizon Healthcare, 846 F.3d at 638-40).


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867 F.3d at 1115; Braitberg v. Charter Commc’ns, Inc., 836 F.3d 925, 930 (8th Cir. 2016))

(additional citations omitted). This test requires the plaintiff to “‘clearly and specifically

set forth facts’ showing a risk of harm particular to” him.20 Kamal, 918 F.3d at 116 (quoting

Reilly v. Ceridian Corp., 664 F.3d 38, 41 (3d Cir. 2011)) (additional citation omitted).

              PRA’s letter to Pozzuolo constituted a procedural violation of the FDCPA. A debt

collection letter, like the one here, that “creates the impression that the debtor can dispute

the debt by calling the debt collector” violates § 1692g. Homer v. Law Offices of Frederick

I. Weinberg & Assocs., P.C., 292 F. Supp. 3d 629, 632 (E.D. Pa. 2017).

              Even though there was a violation of § 1692g, Pozzuolo cannot show actual harm

or a material risk of harm. By his own admission, he was not “hurt as a result of receiving

this letter.”21                  Indeed, he merely “scan[ned] over” the letter before forwarding it to

counsel.22 Although the letter stated that he could call or write PRA to dispute the letter,



                                                            
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            “The leading treatise observes ‘[t]he persisting obscurity of doctrine in this area,’ and notes that
Spokeo ‘does little to relieve the uncertainty surrounding the Article III theories that limit Congressional
authority to create a new legal right, invasion of which supports standing.’” Macy, 897 F.3d at 754 (citing
13B CHARLES ALAN WRIGHT ET AL., FEDERAL PRACTICE AND PROCEDURE § 3531.13 (3d ed. 2017)). These
differing approaches have caused disagreement as to whether a violation of § 1692g constitutes a concrete
injury without the need for additional harm. A line of cases stemming from Jackson v. Abendroth & Russell,
P.C., have held that the failure to advise a consumer that communications must be in writing to be legally
effective does not constitute a concrete injury where the consumer never intended to dispute or validate
the debt. 207 F. Supp. 3d 945, 949 (S.D. Iowa 2016); see also Abercrombie v. Rogers, Carter, & Payne,
LLC, No. 15-2214, 2016 WL 8201965, at *5 (W.D. La. Nov. 22, 2016) (citing Jackson, 207 F. Supp. 3d
945), report and recommendation adopted by 2017 WL 489426 (W.D. La. Feb. 5, 2017); Perry v. Columbia
Recovery Grp., No. C16-0191JLR, 2016 WL 6094821, at *8 (W.D. Wash. Oct. 19, 2016) (citing Jackson,
207 F. Supp. 3d 945). Other courts have held that a violation of § 1692g alone suffices to confer standing
on the consumer. See, e.g., Macy, 897 F.3d at 759; Kausar v. GC Servs. Ltd. P’ship, No. 15-6027, 2017
WL 5175596, at *2 (D.N.J. Nov. 8, 2017); Dunham v. Robert Crane & Assocs., LLC, No. 1:16-cv-02100-
SEB-MPB, 2017 WL 1423957, at *4 (S.D. Ind. Apr. 19, 2017), report and recommendation adopted by 2017
WL 2664287 (June 20, 2017); Allah-Mensah v. Law Office of Patrick M. Connelly, P.C., No. PX-16-1053,
2016 WL 6803775, at *8 (D. Md. Nov. 17, 2016); Dickens v. GC Servs. Ltd. P’ship, No. 16-0803, 2016 WL
3917530, at *1-2 (M.D. Fla. July 20, 2016).

              21
                   Mot. to Dismiss Ex. 1, 32:3-5.
              22
                   Id. Ex. A, 16:22-17:1, 17:18-20.


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Pozzuolo did neither.23 Nor did he dispute the debt with any of the credit reporting

agencies.24 He had no reason to do so. He acknowledges the debt and the amount.25

Thus, because he never intended to dispute the debt, the violation did not harm or present

a material risk of harm to Pozzuolo.

                                                               Conclusion

              Although PRA’s collection letter to Pozzuolo violated § 1692g, Pozzuolo cannot

demonstrate a concrete injury. Therefore, he lacks standing.




                                                            
              23
                   Id. Ex. A, 47:12-14.

              24
                   Id. Ex. A, 48:9-14.
              25
                   Id. Ex. A, 47:15-48:8.


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